 Case 2:19-cv-00173-JVS-RAO Document 68 Filed 07/31/20 Page 1 of 2 Page ID #:2330

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 19-173JVS(RAOx)                                           Date   July 31, 2020
                   CV 19-04950JVS(RAOx)
                   CV 20-06173JVS(RAOx)
 Title             Margaret J Jones, etc v The United States of America
                   Margaret J Jones v The United States of America
                   United States of America v Margaret J Jones, et al



 Present: The                    U.S. District Court Judge James V. Selna
 Honorable
                         Lisa Bredahl                                        Sharon Seffens
                         Deputy Clerk                                        Court Reporter


                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                Eric Swenson; Patrick Martin                               Andrew Pribe, AUSA
                Edward Walton; Justin Fontain                            Jermey Burkhardt, AUSA
 Proceedings:           Status Conference; Order Consolidating Actions

      Cause is called for hearing telephonically and counsel make their appearances.
Court and counsel confer. The Court ORDERS the above referenced actions
consolidated under the lead case of CV 19-00173 JVS(RAOx). All future filings will be
made in in the lead case number, only, with the following case caption:

Margaret J Jones,              )                         CV 19-00173JVS(RAOx)
                               )                          consolidated with
                   Plaintiff,  )                          CV 19-04950JVS(RAOx) and
                               )                          CV 20-06173JVS(RAOx)
            v.                 )
                               )                          TITLE OF DOCUMENT
The United States of America,  )
                               )
                               )
                   Defendant,  )
______________________________ )

     The Court directs the Clerk’s Office to add the parties and counsel in the CV 19-
04950JVS(RAOx) and CV 20-06173JVS(RAOx) to the docket in CV19-00173
JVS(RAOx) docket in CM/ECF.
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 2
 Case 2:19-cv-00173-JVS-RAO Document 68 Filed 07/31/20 Page 2 of 2 Page ID #:2331

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       CV 19-173JVS(RAOx)                                                Date     July 31, 2020
                CV 19-04950JVS(RAOx)
                CV 20-06173JVS(RAOx)
 Title          Margaret J Jones, etc v The United States of America
                Margaret J Jones v The United States of America
                United States of America v Margaret J Jones, et al


        The Court notifies counsel that the currently set trial date of August 25, 2020 is not viable due to
the Covid Pandemic. The Court VACATES the trial and pretrial conference date of August 10, 2020 at
11:00 a.m. and all motions in limine. The Court will give priority to this trial due to the age of plaintiff
when the Court resumes jury trials. The motions in limine will be restored to the calendar when the
pretrial conference and trial dates are re-set.




                                                                                           0    :   3 min each case

                                                           Initials of Preparer      lmb




CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                           Page 2 of 2
